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                       UNITED STATES DISTRICT COURT
                       FOR THE DISTRICT OF COLUMBIA
_____________________________________
PEARL BEALE, et al.,                  )
                         Plaintiffs,  )
                                      )
v.                                    )    Civil Action No. 04-0959 (RMU/JMF)
                                      )
THE DISTRICT OF COLUMBIA, et al.,     )
                                      )
                        Defendants.   )
_____________________________________ )

                     PARTIES’ JOINT MOTION TO STAY BRIEFING
                        ON DEFENDANTS’ PENDING MOTIONS

               All parties to this action — plaintiffs Pearl Beale and Bradley Autman and

defendants District of Columbia, Odie Washington, Marvin Brown, Steven Smith, and Dennis

Harrison — by their undersigned counsel, hereby submit this motion pursuant to their telephone

conference with Chambers on Friday, July 8, 2005, to memorialize that conference.

               The parties agree to stay briefing on defendants’ Amended Motion for Judgment

on the Pleadings and/or for Summary Judgment, filed June 30, 2005, and Motion To Stay

Discovery, filed July 6, 2005, until after the parties’ mediation with Magistrate Judge John M.

Facciola on Monday, August 15, 2005, at 2:00 p.m. Following the mediation, the parties will ask

this Court to set a briefing schedule for plaintiffs’ responses to defendants’ motions. Plaintiffs

believe that a schedule should be established in accordance with the May 31, 2005 Scheduling

Order, which requires oppositions to dispositive motions to be submitted by March 22, 2006, and

that defendants’ Motion To Stay Discovery should therefore be denied as moot. Defendants

dispute the applicability of the March 22, 2006 deadline and believe that: (1) plaintiffs should be

required to respond to their dispositive motion at an earlier date, in accordance with Fed. R. Civ.

P. 56, and (2) discovery should be stayed pending resolution of that motion. Should this case
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not be resolved at mediation, plaintiffs intend to explain their position to the Court in more

detail, while defendants intend to request the Court to schedule plaintiffs’ response to their

motions thirty (30) days after the mediation.

               The parties also attach a proposed order.




                                                      Respectfully submitted,


ROBERT J. SPAGNOLETTI                                                     /s/
Attorney General For the District of Columbia         Edward H. Rippey (DC Bar No. 450462)
                                                      Timothy L. Jucovy (DC Bar No. 481470)
GEORGE C. VALENTINE                                   Jenny C. Ellickson (DC Bar. No. 489905)
Deputy Attorney General                               COVINGTON & BURLING
Civil Litigation Division                             1201 Pennsylvania Ave., NW
                                                      Washington, DC 20004-2401
PATRICIA A. JONES                                     Phone: (202) 662-5861
Chief, General Litigation, Section IV                 Fax: (202) 778-5861


                   /s/                                Douglas R. Sparks (DC Bar No. 296921)
GEORGE RICKMAN                                        SPARKS & SILBER, LLP.
Assistant Attorney General                            3221 M Street, NW
Bar Number: 433298                                    Washington, DC 20007
441 – 4th Street, N.W., 6th Floor North               Phone: (202) 338-0687
Washington, D.C. 20001                                Fax: (202) 333-0858
(202) 442-9840; (202) 727- 6295
Email: rickman.george@dc.gov                          Philip Fornaci (DC Bar No. 434824)
                                                      Ivy Lange (DC Bar No. 488147)
Attorneys for Defendants                              DC Prisoners’ Legal Services Project, Inc.
                                                      2639 Connecticut Avenue, NW, Suite 225
                                                      Washington, DC 20008
                                                      Phone: (202) 775-0323
                                                      Fax: (202) 775-0315

                                                      Attorneys for Plaintiffs

Dated: July 15, 2005




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